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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America )
v. ) Case: 1:24-mj-00036

Shannon Bitzer ) Assigned To: Judge G. Michael Harvey

DOB: XXXXXX Assign. Date : 1/29/2024
) Description: COMPLAINT W/ARREST WARRANT
)

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the

in the District of Columbia __ , the defendant(s) violated:

Code Section Offense Description

18 U.S.C. §§ 111(a)(1)- Forcibly assault, resist, oppose, impede, intimidate, or interfere with certain designated individuals,

18 U.S.C. §§ 111(a)(2)- To use a deadly or dangerous weapon during the commission of such acts, or to aid, abet, counsel, command, induce, or procure the commission of such
offenses,

18 U.S.C. §§ 111(b)- To forcibly assault, resist, oppose, impede, intimidate, or interfere with certain designated individuals where such acts involve physical contact with the victim of
that assault or the intent to commit another felony,

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,

18 U.S.C. § 1752(a)(2)- Knowingly, and with intent to impede or disrupt the orderly conduct of Government business ,

40 U.S.C. § 5104(e)(2)(D)- To utter loud, th ing, or abusive lang or engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings.

40 U.S.C. § 5104(e)(2)(E)- To obstruct, or impede passage through or within, the Grounds or any of the Capitol Buildings.

40 U.S.C. § 5104(e)(2)(F)- To engage in an act of physical violence in the Grounds or any of the Capitol Buildings,

40 U.S.C. § 5104(e)(2)(G)- To parade, demonstrate, or picket in any of the Capitol Buildings,

18 U.S.C. § 231(a)(3)- To commit or attempt to commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties.

This criminal complaint is based on these facts:

See attached statement of facts.

WW Continued on the attached sheet.

Complainant’s signature

a Special Agent
‘inted name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone. As
(tile
Date: 01/29/2024 lily

Judge’s signature

City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge

Printed name and title

